                  Case 2:20-cr-00055-MLCF-KWR Document 82 Filed 10/14/20 Page 1 of 2
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Eastern District
                                                        __________         of of
                                                                    District  Louisiana
                                                                                 __________
                   United States of America                                       )
                              v.                                                  )
                     JASON R. WILLIAMS                                            )   Case No. 20-cr-55 F(4)
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:




        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: United States Federal Courthouse                                 Courtroom No.:    C551
                               500 Poydras Street                                     Date and Time:
                               New Orleans, LA 70130                                                   10/22/2020 1:30 pm

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):




          (SEAL)


Date:
               Oct 14 2020                                                            CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                           Jason R. Williams
                                       , who requests this subpoena, are:
 Mr. William P. Gibbens
 Schonekas, Evans, McGoey & McEachin, LLC
 909 Poydras Street, Suite 1600
 New Orleans, LA 70112
 504-680-6050
 Email: billy@semmlaw.com
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Case No. 20-cr-55 F(4)

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:
